Case 2:19-cv-01933-PSG-JPR Document 11 Filed 06/14/19 Page 1 of 2 Page ID #:37




                        UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

    ANTONIO OWENS,                             §
                                               §
                  Plaintiff,                   §    Civil Action No. 2:19-cv-01933-PSG-JPR
                                               §
                  v.                           §
                                               §
    FIRSTSOURCE ADVANTAGE, LLC,                §
                                               §
                  Defendant.                   §
                                               §
                                               §


                           NOTICE OF VOLUNTARY DISMISSAL


    TO THE CLERK:

           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

    dismisses the Complaint with prejudice.




    Dated: June 14, 2019                       /s/ Amy L. B. Ginsburg
                                               Amy L. B. Ginsburg, Esq.
                                               Kimmel & Silverman, P.C.
                                               30 East Butler Pike
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Case 2:19-cv-01933-PSG-JPR Document 11 Filed 06/14/19 Page 2 of 2 Page ID #:38




                                CERTIFICATE OF SERVICE

           I, Amy L. B. Ginsburg, Esquire, do certify that I served a true and correct copy of

    the Notice of Voluntary Dismissal in the above-captioned matter, upon the following via

    CM/ECF system:


    James L. Duke
    General Counsel, Firstsource Advantage, LLC
    205 Bryant Woods South
    Amherst New York 14228
    James.Duke@na.firstsource.com
    Attorney for Defendant


    June 14, 2019                                /s/ Amy L. B. Ginsburg
                                                 Amy L. B. Ginsburg, Esq.
                                                 Kimmel & Silverman, P.C.
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                                                 Ambler, PA 19002
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                                                 Fax: 215-540-8817
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